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                          Exhibit 11:
                  Anne Yantus Expert Report
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                     DECLARATION OF ANNE YANTUS

1. I am a Michigan attorney in private practice with specialization in criminal
   sentencing. I previously worked for thirty (30) years with the State Appellate
   Defender Office (SADO), where I rose to the position of managing attorney of
   the Special Unit, managing and handling plea and sentencing appeals. Most of
   the work I did during that time related to sentencing errors or plea withdrawal
   claims, and a number of cases involved challenges to sex offender registration.
   I also served as pro bono counsel with Bodman PLC in Detroit, Michigan, from
   November 2019 to May 2021.

2. I regularly speak on Michigan sentencing law, including updates on sex offen-
   der registration, to the Criminal Defense Attorneys of Michigan, Institute of
   Continuing Legal Education, the Wayne County Criminal Advocacy Program,
   the Genesee County Bar Association, and similar agencies. I spoke on senten-
   cing for the Criminal Law Section of the State Bar of Michigan in June 2021,
   and for the Michigan District Judges Association in August 2021. I also taught
   a Criminal Sentencing course at the University of Detroit Mercy School of Law
   from 2003 through 2019. With reference to sex offender registration in parti-
   cular, I presented on the history and current status of the Michigan Sex Offen-
   der Registration Act (SORA) to state trial judges as part of a Michigan Judicial
   Institute conference in January 2020. I have not testified as an expert witness in
   the last four years.

3. With reference to publications, I co-authored a chapter on circuit court senten-
   cing for Michigan Criminal Procedure (ICLE) in 2010 and have worked to
   update that publication over the years. I have written several articles on
   sentencing and plea matters for SADO’s Criminal Defense Newsletter,
   including an article on changes to SORA in September 2006. I have also
   written for the Federal Sentencing Reporter and University of Michigan’s
   Journal of Law Reform: Michigan Sentencing Law: Past, Present, and Future,
   30 Fed Sent R 146 (Dec 1, 2017); Sentence Creep: Increasing Penalties in
   Michigan and the Need for Sentencing Reform, 47 U Mich J L Reform 645
   (Spring, 2014).

4. When I worked with SADO, I regularly presented at plea training events. I
   would offer suggestions to criminal defense attorneys on how best to advise
   their clients regarding the consequences of their pleas. I continue to offer that
   advice via sentence trainings that I am still doing. In those sentencing trainings,
   I update practitioners on new case law and new statutory law, and also address

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   some of the most relevant post-sentence consequences of criminal convictions,
   including sex offender registration. Because sex offender registration is an
   especially severe consequence of any conviction, I have included a discussion
   of sex offender registration in virtually all of my training materials since 2007.

5. Sex offender registration has been a growing area of concern within the crimin-
   al justice community for many years, and this is especially true since the 2011
   amendments converted a great many of registrants from shorter periods of
   registration to 25 years or lifetime registration – and this has continued without
   change in the new SORA (effective March 24, 2021).

6. In training events, I have stressed the need for defense attorneys to provide
   complete and accurate advice to their clients about sex offender registration.
   This, of course, is required by defense attorneys in plea cases as of 2011, when
   the Michigan Court of Appeals held in People v. Fonville, 291 Mich. App. 363
   (2011), that it is ineffective assistance of counsel not to inform defendants that a
   plea will require registration. Fonville recognized that a defendant cannot offer
   a voluntary plea without understanding the “particularly severe penalty” of sex
   offender registration. 291 Mich. App. at 391.

7. I have consulted on cases where, unlike in Fonville, the defense attorney could
   not have predicted that sex offender registration would apply to the client in the
   future or could not have known that registration requirements would become
   more onerous or the registration period would become lengthier. Although to
   my knowledge there is no published Michigan case law addressing a request for
   plea withdrawal in this setting, there is an intuitive logic to the claim that a
   defendant cannot make a knowing, intelligent, and voluntary plea without
   understanding how the act of self-conviction will lead to the “particularly
   severe penalty” of sex offender registration. I expect the law will develop here
   as it has in other areas such as consecutive sentencing. For decades, the
   Michigan appellate courts said there was no right to a warning of applicable
   consecutive sentencing at the time of the plea because consecutive sentencing
   was a collateral consequence. The Michigan Supreme Court recently reversed
   course, People v. Warren, 505 Mich. 196 (2020), and it would now appear that
   the Warren decision may be fully retroactive. See People v. Graham, ___
   Mich. ___; 953 N.W.2d 201 (2021) (Cavanagh J., concurring) (although a
   defendant is precluded from relief on direct appeal due to failure to file a timely
   motion to withdraw the plea, he can seek collateral relief via a motion for relief
   for judgment under MCR 6.500 et seq.).


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8. In my years as a SADO attorney, I litigated many plea-withdrawal and senten-
   cing claims and reviewed approximately two thousand cases over 30 years.
   Issues related to sex offender registration became more prevalent when the sex
   offender registration laws were modified, first to create a public on-line regis-
   try, and later to add more and more categories of required information, like
   cars, phone numbers, and employer’s address.

9. I saw in my own cases that a defendant’s decision to plead guilty or stand trial
   often hinged on whether sex offender registration would result from the convic-
   tion. For example:

    a. I handled an appeal from an Ingham County matter where the prosecutor,
       defense attorney, and trial judge all agreed on the record that the guilty plea
       would not entail sex offender registration. Nevertheless, the probation
       department referred the case to the Michigan State Police for registration.
       We were able to remove the defendant’s name from the registry as a result
       of the appeal; this was the only relief requested.

    b. I handled a case in 2006 that involved a defendant’s guilty plea on Decem-
       ber 29, 2005, to attempted criminal sexual conduct in the fourth degree. The
       plea was entered days before the school exclusion zone laws took effect on
       January 1, 2006. Unbeknownst to the defendant, his guilty plea would have
       precluded him from living in the home he was then purchasing. We filed a
       motion to withdraw the plea, claiming he would not have pleaded guilty had
       he known about the new law. The case was resolved favorably by agree-
       ment with the prosecutor and the trial judge.

    c. In another case, we successfully defeated sex offender registration in a guilty
       plea appeal despite the prosecutor’s argument that the catchall provision of
       then MCL 28.722 should apply to defendant’s conviction of surveilling an
       unclothed adult woman in a costume shop dressing room when her children
       were present, but not unclothed, in the dressing room with her. I don’t recall
       the terms of the plea bargain, but I distinctly recall the joy and relief this
       defendant felt when he learned his name would be removed from the regis-
       try.

10. Through my own cases and in discussions with hundreds of attorneys from
    around the state, it is clear to me that sex offender registration is a critical issue
    for defendants in criminal cases who are charged with sex crimes. The question
    of whether a defendant must register, for how long, and whether registration is

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    public or private (law enforcement only) are often pivotal in resolving cases
    through plea negotiations.

11. Sex offender registration is also tied in many ways to sentencing. The probation
    agent prepares the presentence report and has the responsibility to register most
    defendants. M.C.L. § 28.724(5). That registration is typically acknowledged in
    the body of the presentence report. There are also court findings that must be
    made with reference to registration for some individuals, and these typically are
    made at sentencing. See M.C.L §28.722 and People v. Lee, 489 Mich. 289
    (2011). Moreover, the formal judgment of sentence for prison and jail incarcer-
    ation contains a box to check if sex offender registration has been completed.
    State Court Administrative Office Court Forms MC 219 and MC 219b.

Statement of Compensation

I have provided this report pro bono.

Pursuant to 28 U.S.C. §1746, I state under penalty of perjury that the above
statements are true and correct to the best of my knowledge, information and
believe.



Dated: October 30, 2021                                                _
                                          Anne Yantus (Mich Bar No. 39445)




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                       Attachment 1:
                       C.V. of Anne Yantus
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                                     ANNE YANTUS
                          1624 N. Denwood St., Dearborn, MI 48128
             313 670-8536 anneyantus@gmail.com www.linkedin.com/in/anneyantus

                                         Employment

Michigan Sentencing PLLC
Sentence Consultant (part-time)
July 2021 to Present

Bodman PLC
Pro Bono Counsel
November 2019 to May 2021

University of Detroit Mercy School of Law
Director of Externships, Professor of Practice
August 2018 to November 2019 (part-time)

University of Detroit Mercy School of Law
Director of Clinical Programs, Assistant Professor
July 2016 – July 2018
Leader of clinical and externship programs; established four new clinics including
the development and launch of the Federal Pro Se Legal Assistance Clinic

University of Detroit Mercy School of Law
Adjunct Professor, 2003 – 2016
   • Criminal Sentencing, 2003- 2016, 2019
   • Criminal Procedure, 2005
   • SADO Appellate Advocacy Clinic, 2012 – 2015, 2017

State Appellate Defender Office (SADO)
Managing Attorney, Plea Unit, 2004-2016
Unit leader, sentencing trainer, appellate lawyer handling indigent felony appeals

State Appellate Defender Office
Assistant Defender, 1986 – 2003
Appellate lawyer handling indigent felony appeals in the Michigan
circuit courts, Michigan Court of Appeals, Michigan Supreme Court,
United States District Court for the Eastern District of Michigan and the Sixth Circuit


                                           Education

Wayne State University Law School
Juris Doctorate

Wayne State University
BA, French/Education, with distinction
National Merit Scholarship Recipient
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                                       Publications

•Probation Conditions and Recreational Marijuana Use, SADO Criminal Defense Newsletter,
Vol 45, No 3 (December 2021)

•Offense Variable 9 and Victims of Nighttime Home Invasion, SADO Criminal Defense
Newsletter, Vol 45, No 2 (November 2021).

•Sentence Noise and Decision Hygiene (Part 2), SADO Criminal Defense Newsletter, Vol 45,
No 1 (October 2021).

•Sentence Noise and Decision Hygiene (Part 1), SADO Criminal Defense Newsletter, Vol 44,
No 12 (September 2021)

•COVID 19 Vaccine as Condition of Probation, SADO Criminal Defense Newsletter, Vol 44,
No 11 (August 2021)

•Good Reasons to Attend the Presentence Interview, SADO Criminal Defense Newsletter,
Vol 44, No 10 (July 2021)

•Michigan Criminal Procedure (ICLE, 2010, 2018, 2021) (co-author, felony sentencing
chapter)

•Michigan Sentencing Law: Past, Present and Future, Federal Sentencing Reporter, Vol 30,
No 2 (December 2017)

•Sentence Creep: Increasing Penalties in Michigan and the Need for
 Sentencing Reform, 47 U Mich J L Reform 645 (Spring 2014)

•SADO Defender Plea, Sentencing & Post-Conviction Book (2011) (contributing editor
 and contributing author)

•Nickel and Diming the Criminal Defendant – A Look at Financial Penalties in Felony Cases,
Criminal Defense Newsletter, Vol 31, No 2 (November 2007); also available at:
https://csgjusticecenter.org/courts/publications/nickel-and-diming-the-criminal-defendant-a-
look-at-financial-penalties-in-penalty-cases/

•The New Student Safety Zone Laws: Unanswered Questions for Sex Offenders, SADO
Criminal Defense Newsletter, Vol 29, No.12 (September 2006)

•The Legislative Sentencing Guidelines: Michigan’s Transition to a Limited-Discretion
Sentencing Scheme, Michigan Criminal Law Annual Journal Vol 1, No 1 (2002)

•Guilty Plea Promises: From Bargain to Breach (Part 2), SADO Criminal Defense
Newsletter, Vol 24, No 12, Vol 25, No 1 (September-October 2001)

•Guilty Plea Promises: From Bargain to Breach (Part 1), SADO Criminal Defense
Newsletter, Vol 24, No 10-11 (July-August 2001)
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•Jail Credit, SADO Criminal Defense Newsletter, Vol 23, No 3 (December 1999)

•Competency of the Defendant, SADO Criminal Defense Newsletter, Vol 17, No 12
(September 1994)


                                  Professional Activities


•Guest Lecturer: Criminal Defense Attorneys of Michigan Spring and Fall Semi-Annual
Conferences (2006-present); Wayne County Criminal Advocacy Program (2007 - 2019);
Institute of Continuing Legal Education (2013-2015, 2017-present); Michigan Court of
Appeals (2016, 2014), Michigan Appellate Assigned Counsel Program; Michigan State Bar
Criminal Law Section; Appellate Bench Bar Conference; Michigan Judicial Institute; Macomb,
Oakland, Genesee, Kent and Berrien County Bar Associations; Center for Forensic
Psychiatry

•Grant Writer and Principal Investigator: Michigan State Bar Foundation Grants to Detroit
Mercy Law for Federal Pro Se Legal Assistance Clinic and Housing Law Clinic (2016, 2017);
Oakland County Bar Foundation Grants to Detroit Mercy Law for Immigration Law Clinic
(2016) and Federal Pro Se Legal Assistance Clinic ( 2017, 2018); Helen L. Kay Charitable
Trust Grant to Detroit Mercy Law for Juvenile Appellate Clinic (2017).

•Criminal Defense Attorneys of Michigan
Member and speaker
Education Committee (past member)
Amicus Committee, Contributing Author (past member and author of multiple amicus briefs
filed in the Michigan Supreme Court)

•Michigan Judicial Institute, Felony Sentencing Resources,
Guidelines Scoring Q & A (SADO contributing attorney, 2014 - 2016)
available at: http://courts.mi.gov/education/mji/felony-sentencing/pages/sg-scoring.aspx

•Michigan Department of Corrections Workgroup to Reformulate Felony Presentence Report
(2012-2014)

•Michigan Legislative Task Force on Alternatives to Incarceration
(Rep Fred Durhal, chairperson) (2012)

•Editorial Advisory Committee, Michigan Judicial Institute Monograph on Circuit Court
Sentencing (2011-2016).

                                    Honors and Awards

•Adjunct Professor of the Year 2015, University of Detroit Mercy School of Law

•Distinguished Brief Award 2010, Cooley Law Review
People v McGraw, 27 T M Cooley L Rev 679 (2010)
